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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS


COOK COUNTY REPUBLICAN PARTY,

              Plaintiff,                                 No. 1:20-cv-04676

v.                                                     Hon. Robert M. Dow, Jr.

J.B. PRITZKER, in his official capacity as         Motion for Preliminary
Governor of the State of Illinois;                      Injunction
CHARLES W. SCHOLZ, IAN K.
LINNABARY, WILLIAM J. CADIGAN,
LAURA K. DONAHUE, WILLIAM R.
HAINE, WILLIAM M. MCGUFFAGE,
KATHERINE S. O’BRIEN, and
CASANDRA B. WATSON, in their
official capacities as Board Members of
the Illinois State Board of Elections;
KAREN A. YARBROUGH, in her official
capacity as Cook County Clerk; and
MARISEL A. HERNANDEZ, WILLIAM
J. KRESSE, and JONATHAN T. SWAIN,
in their official capacities as
Commissioners of the Chicago Board of
Election Commissioners,

             Defendants.


      Pursuant to Fed. R. Civ. P. 65, Plaintiff respectfully moves for a preliminary

injunction to avoid imminent and irreparable injury.

      As set forth in the attached supporting memorandum of law, Plaintiff asks

that this Court enter an order enjoining Defendants and their agents and officers

from further implementing the provisions of Senate Bill 1863, signed into law by

Defendant J.B. Pritzker as Public Act 101-0642 on June 16, 2020.

Dated: August 10, 2020                    Respectfully Submitted,

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                                    COOK COUNTY REPUBLICAN
                                    PARTY

                                    By: /s/ Brian K. Kelsey
                                    Brian K. Kelsey
                                    James J. McQuaid
                                    Liberty Justice Center
                                    190 South LaSalle Street, Suite 1500
                                    Chicago, Illinois 60603
                                    Telephone (312) 263-7668
                                    Facsimile (312) 263-7702
                                    bkelsey@libertyjusticecenter.org
                                    jmcquaid@libertyjusticecenter.org

                                    Attorneys for Plaintiff




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                                CERTIFICATE OF SERVICE

        I, James J. McQuaid, an attorney, herby certify that I caused to be served a true and
correct copy of the foregoing Motion by placing same with LaSalle Process Servers, 105 W.
Madison Street, Suite 1306, Chicago, IL 60602, on August 10, 2020, for service to all
Defendants at the addresses listed below on or prior to August 24, 2020. Concurrently, I filed
this Motion, and its associated Memorandum of Law and Notice via the ECF system.

                                                                   /s/ James McQuaid

                                          Service List

J.B. Pritzker                                       Karen A. Yarbrough
Office of the Governor                              Cook County Clerk
100 W. Randolph St., Ste. 16-100                    69 W. Washington St., Ste. 500
Chicago, IL 60601                                   Chicago, IL 60602

Charles W. Scholz, Ian K. Linnabary,                Marisel A. Hernandez, William J. Kresse,
William J. Cadigan, Laura K. Donahue,               and Jonathan T. Swain
William R. Haine, William M. McGuffage,             Chicago Board of Election Commissioners
Katherine S. O’Brien, and Casandra B.               69 W. Washington, Ste. 600
Watson                                              Chicago, IL 60602
Illinois State Board of Elections
100 W. Randolph St., Ste. 14-100
Chicago, IL 60601




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